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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:13CR00329-08 BSM


BRENT BOHANON

                                       ORDER

        At the June 11, 2014 Revocation Hearing, the Government agreed to

withdraw its Motion to Revoke (doc. 186) if Defendant would undergo inpatient

drug treatment, for alcohol dependency, followed by chem-free living.

        The Court’s December 23, 2013 Order Setting Conditions of Release (doc.

161) is MODIFIED to require Defendant to undergo inpatient drug treatment, to be

followed with chem-free living until the final disposition of the charges in this

case.

        Defendant shall remain in custody until bed space is available at an inpatient

treatment facility. Defendant’s aunt, who is one of his third-party custodians, or,

his father, will be responsible for transporting Defendant directly from the Pulaski

County Regional Detention Facility to the inpatient treatment facility. Defense

counsel must notify the Pretrial Services Officer when Defendant leaves the
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PCRDF, and staff at the inpatient treatment facility will notify the PTSO when

Defendant arrives at the treatment facility.

      IT IS SO ORDERED THIS 11th day of June, 2014.



                                        __________________________________
                                        UNITED STATES MAGISTRATE JUDGE




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